Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 1 of 25



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-21626-CIV-ALTONAGA/Goodman

  MSP RECOVERY CLAIMS,
  SERIES LLC,

         Plaintiff,
  v.

  USAA GENERAL INDEMNITY
  COMPANY,

        Defendant.
  ______________________________/

                                              ORDER

         THIS CAUSE came before the Court for a hearing on September 13, 2018 (“September

  13 Hearing”) [ECF No. 74], on Defendant, USAA General Indemnity Company’s (“USAA[’s]”)

  Motion to Dismiss Plaintiff’s Third Amended Class Complaint for Damages (“Fourth Motion”)

  [ECF No. 63], filed August 6, 2018. Plaintiff, MSP Recovery Claims, Series LLC (“Plaintiff” or

  “MSP Series”) filed its Response in Opposition (“Opp’n”) [ECF No. 65], and USAA filed its

  Reply [ECF No. 70]. After the hearing, USAA filed a Notice of Supplemental Authority [ECF

  No. 76]. The Court has carefully reviewed the Third Amended Complaint [ECF No. 46], the

  parties’ briefing, the record, and applicable law. For the reasons explained below, the Fourth

  Motion is granted.

                                     I.      BACKGROUND

         A.      Procedural Background

         MSP Series filed its first Complaint [ECF No. 1-1] in this action in state court, naming as

  the Defendant, United Services Automobile Association (“US Auto”), on August 10, 2017. (See

  Notice of Removal [ECF No. 1] 1). Some eight months after US Auto moved to dismiss the
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 2 of 25
                                                 CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  Complaint (see Mot. 3), MSP Series filed an Amended Class Action Complaint for Damages

  [ECF No. 1-4]. (See id.). The Amended Complaint introduced a cause of action alleging a

  violation of the Medicare Secondary Payer Act, 42 U.S.C. section 1395y(b)(3)(A), in relation to

  a “representative” accident claim of K.N., who was enrolled in a Medicare Advantage plan

  issued and administered by Heath First Administrative Plans (“HFAP”). (See id. ¶ 7). HFAP is

  allegedly “a [Medicare Advantage Organization] MAO” that was charged for K.N.’s bills and

  then assigned its rights to recover conditional payments to MSP Recovery, LLC (“MSP

  Recovery”). (Id. ¶¶ 7, 11, 14 (alterations added)). MSP Recovery then assigned the recovery

  rights to Plaintiff. (See id. ¶ 15). US Auto removed the action on April 24, 2018. (See Notice of

  Removal 2).

         Then, on May 8, 2018, US Auto filed a Motion to Dismiss Plaintiff’s Amended Class

  Action Complaint (“Second Motion”) [ECF No. 16] on the basis — among other arguments

  raised — certain assignment agreements upon which Plaintiff relied were insufficient to confer

  standing upon MSP Series. (See id. 3). US Auto learned from public records and case law that

  HFAP is not an MAO, and only MAOs may bring claims under 42 U.S.C. section 1395y, the

  Medicare Secondary Payer Act (the “MSP law” or “MSP Act”). (See id. 16–17 (citing cases)).

  US Auto also asserted MSP Series failed to allege any nexus or reason why US Auto might owe

  anything to the Assignor that allegedly assigned its claims to Plaintiff. (See id. 4).

         On May 24, 2018, MSP Series filed an Unopposed Motion for Leave to File Second

  Amended Complaint [ECF No. 22]. Consequently, the Court denied the Second Motion as moot

  and allowed MSP to file its third pleading. (See Order [ECF No. 24]). On May 25, 2018, MSP

  Series filed its third pleading, a Second Amended Complaint (“SAC”) [ECF No. 26]. The SAC

  alleged (1) a different entity, Health First Health Plans, Inc. (“HFHP”) is actually the MAO in



                                                    2
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 3 of 25
                                                 CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  which K.N. was enrolled, (2) HFHP paid K.N.’s bills, and (3) HFHP owned the conditional

  recovery rights, which itassigned to MSP Series. (See SAC ¶¶ 7, 10, 13).

             On June 15, 2018, US Auto filed a Motion to Dismiss (“Third Motion”) [ECF No. 32],

  arguing, among other things, because of defective assignments, Plaintiff lacked standing; and it

  had sued the incorrect defendant. (See generally id.). On June 21, 2018, MSP Series filed a

  Motion for Leave to Amend [ECF No. 34] and Corrected Motion for Leave to Amend [ECF No.

  35], asking it be allowed to file a fourth pleading, a third amended complaint, to add “clarifying

  allegations regarding assignment of all rights of recovery” and to change the named Defendant.

  (Id. 1).

             Following a hearing on June 29, 2018 (“June 29 Hearing”) [ECF No. 44], the Court

  denied the Third Motion, allowed Plaintiff to “file its third and final amended complaint,” and

  gave MSP Series until July 9, 2018 to serve the new Defendant. (Order [ECF No. 45] 1). On

  July 2, 2018, MSP Series filed its Third Amended Complaint (“TAC”) [ECF No. 46], for the first

  time naming USAA. The present, Fourth Motion followed, challenging (1) Plaintiff’s Article III

  standing, (2) Plaintiff’s compliance with prerequisites to filing suit, and (3) Plaintiff’s ability to

  allege a breach-of-contract or subrogation claim. (See Fourth Mot. 8–20). Because the Court

  agrees Plaintiff lacks standing to bring the claims, the Court does not reach the remaining

  arguments.

             B.    Factual Background

                   1. Plaintiff’s Allegations

             The TAC alleges this is a class action brought under the MSP Act, 42 U.S.C. section

  1395y, arising from USAA’s “systematic and uniform failure to reimburse conditional Medicare

  payments. (TAC ¶ 1). MSP Series alleges USAA has repeatedly failed to provide primary



                                                    3
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 4 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  payment, or reimburse secondary payments made by MSP Series’s assignors and Class Members

  on behalf of Medicare beneficiaries enrolled in Part C of the Medicare Act (the “Enrollees”), for

  medical expenses resulting from injuries sustained in automobile accidents. (See id. ¶ 2). The

  Enrollees were enrolled in Medicare Advantage health plans offered by MSP Series’s assignors

  and Class Members, i.e., Medicare Advantage Organizations (“MAOs[’s]”), which suffered an

  injury-in-fact from USAA’s failure to reimburse, and therefore have standing to sue under 42

  U.S.C. section 1395y(b)(3)(A). (See id.).

         MSP Series’s assignors and the putative Class Members are MAOs that provided

  Medicare benefits to the Enrollees. (See id. ¶ 3). The Enrollees suffered injuries related to

  accidents, and MSP Series’s assignors and the putative Class Members paid for medical services

  required by the Enrollees. (See id.). Because the Plaintiff’s assignors and Class Members’

  Enrollees were also covered by no-fault policies issued by USAA, USAA is a primary payer

  under the MSP Law and must reimburse MSP Series and the Class Members for their payments

  of accident-related medical expenses. (See id.).

         Congress provided a private right of action for enforcement of the MSP Law and to

  remedy a primary payer’s failure to reimburse conditional payments made by Medicare or an

  MAO.     (See id. ¶ 4). The K.N. claim demonstrates Plaintiff’s right to recover for USAA’s

  failure to meet its reimbursement obligations under the MSP Law. (See id. ¶ 6). K.N. was

  enrolled in a Medicare Advantage plan issued by HFHP, an MAO. (See id. ¶ 7). K.N. was

  injured in April 2011 in an automobile accident caused by a third-party insured under a no-fault

  policy issued by USAA. (See id. ¶ 8). USAA’s no-fault insurance policy provided primary

  coverage for K.N.’s accident-related medical costs and expenses. (See id.). Medical providers

  rendered services and then issued bills for payment to K.N.’s MAO, HFHP, which was



                                                     4
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 5 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  responsible for all medical expenses incurred. (See id. ¶ 11). HFHP paid $3,365.01 for these

  medical expenses, although the medical provider billed and charged a greater amount. (See id.).

         Plaintiff alleges USAA is liable to pay the actual amount billed because it was K.N.’s

  primary payer by virtue of the no-fault insurance policy providing primary coverage for K.N.’s

  accident-related medical costs and expenses. (See id. ¶ 12). USAA admitted to the Centers for

  Medicare and Medicaid Services (“CMS”) that it was the primary payer for K.N. (See id.).

  USAA was aware of its responsibility to reimburse HFHP. (See id.). Nevertheless, USAA failed

  to do so, giving rise to a claim under the MSP Law. (See id.).

         MSP Series alleges it has the legal right to pursue this MSP Law claim under a series of

  “valid assignment agreements.” (Id. ¶ 13). On April 28, 2016, HFHP, through its administrator,

  HFAP, irrevocably assigned its rights to recover conditional payments made on behalf of its

  Enrollees to MSP Recovery in an HFAP Recovery Agreement (“Recovery Agreement”). (See

  id. ¶ 14). According to Plaintiff, HFHP’s assignment is evidenced by:

     (1) the April 28, 2016 HFAP Recovery Agreement executed by HFHP and HFAP’s Chief

         Operating Officer, Michael Keeler (TAC Ex. D [ECF No. 46-4]);

     (2) Mr. Keeler, who states in an affidavit (Affidavit of Michael Keeler (“First Keeler Aff.”),

         TAC Ex. E [ECF No. 46-5]) that HFHP intended to and did assign the Assigned Claims

         to MSP Recovery on April 28, 2016;

     (3) Mr. Keeler, who states in a June 1, 2018 Supplemental Affidavit (Supplemental Affidavit

         of Michael Keeler (“Second Keeler Aff.”) TAC Ex. F [ECF No. 46-6]), that (a) HFAP

         and HFHP intended the HFAP Recovery Agreement to irrevocably assign the Medicare

         Secondary Payer recovery rights of HFHP to MSP Recovery and/or its assigns, and

         authorize the transfer of HFHP’s claims data to MSP Recovery for analysis and use, and



                                                  5
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 6 of 25
                                              CASE NO. 18-21626-CIV-ALTONAGA/Goodman


          (b) HFAP performs all administrative functions for HFHP and has the authority to enter

          into agreements transferring the recovery rights of HFHP;

      (4) a nunc pro tunc June 1 Assignment (“Nunc Pro Tunc Assignment”) executed by Mr.

          Keeler (see TAC Ex. F, 6–7); and

      (5) an Addendum to the Recovery Agreement and Assignment Addendum (“Addendum”)

          between HFAP, HFHP, and MSP Recovery, dated June 1, 2018 and executed by Mr.

          Keeler (see TAC Ex. F, 4–5).

  (See TAC ¶ 14).

          All administrative functions of HFHP, including the issuance of conditional payments,

  are accomplished by HFAP. (See id. ¶ 16). As HFHP generally acts through HFAP for

  administrative functions, the Recovery Agreement was executed by HFAP on behalf of all

  affiliated health plans and MAOs having direct contracts with CMA, which includes HFHP.

  (See id.).   The Nunc Pro Tunc Assignment confirms, ratifies and memorializes HFHP’s

  assignment of the Assigned Claims, as defined in the HFAP Recovery Agreement, as of April

  28, 2016. (See id. ¶ 17; Ex. F 6–7). According to the Recovery Agreement, and consistent with

  the Nunc Pro Tunc Assignment, HFHP transferred and delivered all claims data for dates of

  service between February 2007 and December 2016 to MSP Recovery on June 8, 2016. (See id.

  ¶ 18). The claims data transferred to MSP Recovery by HFHP constitute the Assigned Claims.

  (See id.).

          On June 12, 2017, MSP Recovery assigned all rights acquired under the Recovery

  Agreement — as confirmed by the Nunc Pro Tunc Assignment and Addendum — to Plaintiff

  MSP Series, under one of its designated series, Series 16-05-456 LLC (“Series Assignment”).




                                                 6
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 7 of 25
                                                 CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  (See id. ¶ 19). The Series Assignment from MSP Recovery to Plaintiff’s Series 16-05-46 LLC

  appears as Exhibit G to the TAC [ECF No. 46-7].

         On the basis of the foregoing allegations regarding the existence of a valid assignment to

  Plaintiff MSP Series, the TAC proceeds to provide a background concerning the MSP Law (see

  id. ¶¶ 33–34), MAOs (see id. ¶¶ 35–36), the Medicare payment process (see id. ¶ 37), CMS’s

  standard for storing digital health insurance claims data (see id. ¶¶ 38–39), and detailed

  explanation of Plaintiff’s use of electronic data interchange to analyze claims data and identify

  reimbursement claims under the MSP Law (see id. ¶¶ 40–42).

         MSP Series explains it is a Delaware series limited liability company that has established

  various Series owned exclusively by MSP Recovery. (See id. ¶ 43). All Series form a part of

  Plaintiff and are owned by Plaintiff. (See id.). Numerous assignors have assigned their recovery

  rights to assert certain causes of action to series LLCs of the Plaintiff, and Plaintiff maintains the

  legal right to sue on behalf of each of its designated series LLCs. (See id. ¶ 44).

            MSP Series, on behalf of a purported class (see id. ¶¶ 47–55), brings two claims

  arising out of USAA’s failure to pay or reimburse Medicare payments which are secondary and

  must be reimbursed if a primary payer is available (see id. ¶ 56). Count I is titled “Private Cause

  of Action Under 42 U.S.C. § 1395y(b)(3)(A),” the Medicare Secondary Payer Act. (Id. 25).

  Count II is titled “Direct Right of Recovery Pursuant to 42 C.F.R. § 411.24(e) for Breach of

  Contract.” (Id. 26).

                 2.      The TAC’s Referenced Agreements and Exhibits

         In alleging its standing to bring this suit, MSP Series relies on several assignments and

  related agreements evidencing an MAO assigned its right to bring claims under the MSP Law to

  the named Plaintiff. The crux of USAA’s challenge to MSP Series’s standing is the absence of



                                                    7
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 8 of 25
                                                CASE NO. 18-21626-CIV-ALTONAGA/Goodman


  an unbroken chain of assignments from an MAO to Plaintiff. Consequently, a close examination

  of the TAC’s allegations and its attached contracts and affidavits — and ascertaining whether the

  contracts support the TAC’s allegations that MSP Series has standing to bring the claims asserted

  — is necessary to resolving the merits of the standing question.

                         April 2016 Recovery Agreement

         The first contract in the chain of assignments is the April 28, 2016 Recovery Agreement

  between HFAP and MSP Recovery. (See TAC Ex. D). The Recovery Agreement is not signed

  by and does not reference HFHP, the entity that allegedly paid the K.N. bills and assigned its

  reimbursement rights. (See generally id.). It is not signed by nor does it reference any other

  MAO. (See generally id.). While the TAC alleges HFHP assigned its rights on behalf of HFHP

  through its administrator, HFAP, the Recovery Agreement is entered into by HFAP only, defined

  as “Client.” (Recovery Agreement 1). Indeed, section 6.1(b)(ii) states the client, HFAP, “has all

  right, title, interest in and ownership of the Claims being assigned subject to this Agreement, free

  and clear of all liens and encumbrances.” (Id. 5).

         Again, the TAC alleges the Recovery Agreement was executed by Mr. Keeler as COO of

  HFAP and HFHP. (See TAC ¶ 14(a)). Yet the signature page of the Recovery Agreement shows

  Mr. Keeler signed only as the COO of HFAP. (See Recovery Agreement 9). MSP Series alleges

  HFAP executed the Recovery Agreement on behalf of all affiliated health plans and MAOs

  having direct contracts with CMS, which includes HFHP, citing to section 2.2 of the Recovery

  Agreement. (See TAC ¶ 16).        Section 2.2 says no such thing. (See Recovery Agreement 3).

  Section 2.2 addresses MSP Recovery’s responsibility to pay the Client, HFAP, a contingent

  deferred purchase price as consideration for the Assigned Claims. (See id.).           “Any health

  plan(s) of the client [HFAP] are encompassed within the Agreement.” (Id. (alteration added)).



                                                   8
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 9 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


         As pointed out by USAA at the September 13 Hearing, “nowhere in this document is

  there any mention of Health First Health Plans, the entity that Plaintiff[] allege[s] [has] these

  reimbursement rights.” (Sept. 13, 2018 Hr’g Tr. 9:22–24 [ECF No. 77] (alterations added)).

  Nor is there any indication in the Recovery Agreement HFAP is acting on behalf of or assigning

  the rights of any other MAO. (See generally Recovery Agreement). In short, the Recovery

  Agreement expresses no intent to assign rights of HFHP, but rather only rights represented to be

  100 percent owned by HFAP. (See generally Recovery Agreement).

                        First Keeler Affidavit and Related Documents

         On April 12, 2018, Mr. Keeler signed his First Affidavit on behalf of HFAP and HFHP.

  (See First Keeler Aff., TAC Ex. E [ECF No. 46-5]). He states he is the Chief Operating Officer

  of HFAP and HFHP (see id. ¶ 1), and explains HFHP contracts with CMS and HFAP performs

  administrative functions on behalf of HFHP (see id. ¶ 3). Under an Administrative and Financial

  Management Agreement (see Administrative and Financial Management Agreement (“Admin.

  Agreement”) TAC Ex. E, Ex. A [ECF No. 46-5] 4–6), HFAP has authority to manage and act on

  behalf of HFHP with respect to all financial assets, including the Assigned Claims. (See First

  Keeler Aff. ¶ 5). Mr. Keeler asserts HFAP, on behalf of HFHP, entered into the Recovery

  Agreement with MSP Recovery, assigning to MSP Recovery all rights and interest in the

  Assigned Claims. (See id. ¶ 6).

         Mr. Keeler states he signed the Recovery Agreement for and on behalf of HFAP and all

  affiliated health plans, subsidiaries, related entities, and MAOs having direct contracts with CMS

  for which HFAP performs administrative functions. (See id. ¶ 7). He states the Recovery

  Agreement “provided that any of HFAP’s health plans were encompassed within the Agreement,

  including Health First Health Plans, Inc.” (Id.). He explains the claims data transferred by



                                                  9
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 10 of 25
                                                CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   HFAP and HFHP for service dates between 2007 and 2016 correspond to the members of HFHP,

   and it was always the intent of the parties that all claims data of HFHP transferred to MSP

   Recovery encompassed the claims assigned. (See id. ¶ 8).

          The Administrative Agreement is dated January 1, 2016, and is entered between Health

   First Government Plans, Inc. (“HFGP”) and HFAP. (See Admin. Agreement 1). The Agreement

   states both entities are owned by Health First Holding Corp., and it memorializes HFAP will be

   providing HFGP administrative and financial management services. (See id.).

          In MSP Recovery Claims, Series LLC v. Auto-Owners Insurance Company, No. 1:17-cv-

   23841-PAS, 2018 WL 1953861, at *5 (S.D. Fla. April 25, 2018) (“Auto-Owners”), the court

   describes the Administrative Agreement as requiring HFAP to act as a “contractor to provide

   administrative and financial management services. Nothing in the agreement demonstrates that

   HFAP is contracted to pursue claims under § 1395y(b)(3)(A).” Id. “[A] contract for services is

   not an assignment of rights.” Id. (alteration added). Similarly, in MAO-MSO Recovery II, LLC

   v. State Farm Mutual Automobile Insurance Company, No. 1:17-cv-01541-JBM-JEH, 2018 WL

   2392827, at *5 (C.D. Ill. May 25, 2018) (“State Farm”), in addressing the nature of the

   Administrative Agreement, the court noted it “simply does not contain any provision even

   suggesting, let alone explicitly stating, that HFHP intended to transfer claims under the MSP

   provisions to HFAP.” Id. (emphasis in original). In short, the Administrative Agreement is not

   evidence HFHP assigned its legal rights under the K.N. claim or gave HFAP authority to pursue

   them; rather, it is simply an agreement for the furnishing of administrative and financial services

   by HFAP.




                                                   10
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 11 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


                  Second Keeler Affidavit and Related Documents

          On June 1, 2018, Mr. Keeler signed a Second Affidavit [ECF No. 46-6], explaining

   HFHP acts through its corporate officers and has no employees. (See id. ¶ 5). All of HFHP’s

   administrative functions are carried out by HFAP under the Administrative Agreement. (See

   id.). He then goes on to state:

                  6. On April 28, 2016, I executed a Recovery Agreement and Assignment
          Addendum (the “Agreement”) with MSP Recovery, LLC, and/or its assigns
          (“MSP Recovery”), whereby HFAP assigned to MSP Recovery all right, title,
          interest in and ownership of Assigned Claims, as defined in the Agreement. The
          purpose of that agreement was to irrevocably assign the Medicare Secondary
          Payer recovery rights of HFHP to MSP Recovery and authorize the transfer of
          HFHP’s claims data to MSP Recovery for analysis and use in furtherance of that
          end.

                 7. As indicated in the Agreement, I executed the Agreement as COO of
          HFAP specifically for the affiliated health plans for which HFAP performs
          administrative functions. Section 2.2 of the Agreement explicitly stated that “Any
          health plan(s) of the Client are encompassed within the Agreement.” Moreover,
          the only purpose of executing the Agreement was to empower MSP Recovery to
          pursue the recovery rights of HFHP, the Medicare Advantage Organization
          (“MAO”) affiliated with HFAP that contracted directly with CMS.

                  8. I and other officers and authorized employees of HFAP, in the name of
          HFAP, regularly conduct business and execute contracts on behalf of HFHP,
          because that is the fully authorized function of HFAP. Therefore, executing the
          Agreement as COO of HFAP was a customary and appropriate action, despite the
          specific issue later identified.

                                     *            *              *

                 10. The claims data that was transferred to MSP Recovery encompassed
          claims payments made by HFHP for and on behalf of its beneficiaries, members
          and enrollees for dates of service between February 5, 2007 and November 23,
          2016. HFHP was the proper assignor of all right, title, interest in and ownership
          of Assigned Claims in the Agreement with MSP Recovery.

                                     *            *              *

                 12. The recent court orders scrutinizing the distinction between HFHP’s
          ownership of the rights to MSP recovery vis-à-vis HFAP’s authorization to take
          any and all action on HFHP’s behalf, including disposal of its owned assets, leads

                                                 11
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 12 of 25
                                                  CASE NO. 18-21626-CIV-ALTONAGA/Goodman


          to the conclusion that had I signed the Agreement in my role as COO of HFHP,
          the present controversy would have been avoided. At all times I was fully
          authorized to, and there was nothing preventing me from, executing the
          Agreement as COO of, and directly on behalf of, HFHP. . . .

                  13. Therefore, with full authorization of HFHP and HFAP in my role as
          COO of both entities, I have executed an addendum to the Agreement to clarify
          and ratify the intent and actions on and since April 28, 2016. The addendum is
          attached as Exhibit 1 to this affidavit. I have also executed an Assignment by
          HFHP, effective April 28, 2016, of all MSP recovery rights of HFHP. The
          assignment is attached as Exhibit 2 to this affidavit.

                                     *                *          *

                    15. HFHP was, and is to be, recognized as an assignor and a named party
          to the Agreement with MSP Recovery and was at all times an assignor of all right,
          title, interest in and ownership of Assigned Claims, as defined in the Agreement.

   (Id. (emphasis in original; alterations added)).

          The June 1, 2018 Addendum’s stated intent is to confirm, ratify and memorialize “the

   intent of the parties [in the April 2016 Recovery Agreement]” that HFHP “was an assignor and

   intended party to the Agreement dated April 28, 2016 and was inadvertently not specifically

   included by name in said Agreement, and that MSP Recovery obtained all right, title and interest

   in and to the Assigned claims on April 28, 2016.” (Addendum 1 (alteration added)). Mr. Keeler

   signed the Addendum as COO of HFHP and COO of HFAP. (See id. 2).

          The June 1, 2018 Nunc Pro Tunc Assignment “effective April 28, 2016,” signed by Mr.

   Keeler as COO of HFHP, states the intentions of the client HFHP and assignee MSP Recovery,

   whereby HFHP “wishes to assign to MSP Recovery all right, title, interest in and ownership of

   the Claims (Assigned Claims as defined, herein) . . . .” (Nunc Pro Tunc Assignment 1). MSP

   Recovery is not the named Plaintiff in this action. The named Plaintiff, again, is MSP Recovery

   Claims, Series LLC.




                                                      12
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 13 of 25
                                                 CASE NO. 18-21626-CIV-ALTONAGA/Goodman


                  Series Assignment

          As stated, the TAC alleges on June 12, 2017, MSP Recovery assigned all rights acquired

   under the Recovery Agreement, “as confirmed by the Nunc Pro Tunc Assignment and

   Addendum, to Plaintiff, under one of its designated series: Series 16-05-456 LLC (‘the Series

   Assignment’).” (TAC ¶ 19). That Series Assignment [ECF No. 46-7], states the assignor, MSP

   Recovery, assigns to Series 16-05-456 LLC, a series of MSP Recovery Claims, Series LLC, the

   Assigned Claims as those are defined in the April 28, 2015 [sic] Recovery Agreement between

   HFAP and MSP Recovery, regardless of when those claims were vested in HFAP. (See Series

   Assignment 1). To be clear, the Series Assignment does not pass on to MSP Series the rights

   purportedly assigned in the Nunc Pro Tunc Assignment.

                                          II.    STANDARD

          USAA challenges subject matter jurisdiction, in particular MSP’s standing to bring the

   claims asserted, and so Federal Rule of Civil Procedure 12(b)(1) applies. See Stalley ex rel.

   United States v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008).

   “Because standing is jurisdictional, a dismissal for lack of standing has the same effect as a

   dismissal for lack of subject matter jurisdiction under [Rule] 12(b)(1).” Id. (alteration added;

   internal quotation marks and citation omitted). A motion to dismiss for lack of subject matter

   jurisdiction under Rule 12(b)(1) may be based upon either a facial or factual challenge to the

   complaint. See McElmurray v. Consol. Gov’t of Augusta–Richmond Cty., 501 F.3d 1244, 1251

   (11th Cir. 2007) (citation omitted). In addressing a facial attack, the court merely looks to see if

   the plaintiff has sufficiently alleged a basis for subject matter jurisdiction, and the complaint’s

   allegations are accepted as true. See id. (citation omitted). In contrast, because a factual attack

   challenges the existence of subject matter jurisdiction in fact, the court may consider matters



                                                   13
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 14 of 25
                                                  CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   outside the pleading such as testimony and affidavits. See id. (citation omitted).

          To establish subject matter jurisdiction, a plaintiff must allege he has standing, which

   consists of three elements: “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly

   traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

   favorable judicial decision.” Spokeo, Inc. v. Robins, – U.S. –, 136 S. Ct. 1540, 1547, 194 L. Ed.

   2d 635 (2016), as revised (May 24, 2016).           “To establish injury in fact, a plaintiff must

   demonstrate he or she suffered ‘an invasion of a legally protected interest’ that is ‘concrete and

   particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting

   Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). For an injury to be particularized, it “must

   affect the plaintiff in a personal and individual way.” Lujan, 504 U.S. at 560 n.1. For the injury

   to be “concrete,” it must be “real,” and not “abstract;” however it need not be “tangible.”

   Spokeo, 136 S. Ct. at 1548–49 (explaining intangible violations such as restricting free speech

   can qualify as concrete harms).

                                          III.    DISCUSSION

          Defendant moves to dismiss for lack of standing because based on “the allegations and

   exhibits to the Third Amended Complaint . . . Plaintiff fails to allege facts supporting its

   purported standing or a valid claim for relief.” (Mot. 2 (alteration added)). Because USAA does

   not ask the Court to consider any extrinsic evidence outside of the TAC or its attachments, the

   Motion “constitutes a facial attack on [Plaintiff’s] standing.” MSP Recovery Claims, Series LLC

   v. ACE Am. Ins. Co., No. 17-CV-23749, 2018 WL 1547600, at *6 (S.D. Fla. Mar. 9, 2018)

   (alteration added). Accordingly, the Court looks only to the TAC and its exhibits and treats well-

   pled allegations in the TAC as true.          See id.    Nevertheless, where the agreements and




                                                     14
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 15 of 25
                                                 CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   assignments attached to the TAC contradict conclusory allegations in the TAC regarding

   standing, “the exhibits govern.” Crenshaw v. Lister, 556 F.3d 1283, 1292 (11th Cir. 2009).

           A.     Introduction

           It was in the SAC that MSP Series first alleged HFHP is the MAO in which K.N. was

   enrolled, that paid K.N.’s bills, and which owned the recovery rights allegedly assigned to

   Plaintiff. (See SAC ¶¶ 7, 10, 13). Prior to this pleading, MSP Series alleged HFAP was that

   entity. This material amendment to Plaintiff’s allegations was inserted into the case one day

   before the district court in State Farm made the following observations:

           The Court does not believe Plaintiffs have been completely forthcoming about
           exactly who the alleged assignor is in this case. . . . [T]he Amended Complaint
           makes clear that any reference to “Health First” refers to HFAP. No matter how
           Plaintiffs twist it, their Amended Complaint is not accurate. HFAP did not pay
           the representative beneficiary’s medical expenses; HFHP did. Therefore, if
           anybody is to be reimbursed under the MSP provisions, it is HFHP, not HFAP. It
           is not a “minor” clarification to say that an entirely separate corporation incurred
           injury.

   State Farm, 2018 WL 2392827, at *4 (alterations added). The court in State Farm went on to

   explain the reason it was requiring the plaintiffs to show cause why Rule 11 sanctions should not

   be entered:

           Plaintiffs tacitly admit that their Amended Complaint is not accurate. Plaintiffs
           explicitly identified HFAP as the MAO in their Amended Complaint that paid for
           R.Y.’s medical expenses. Now, after being outed by the Florida court and State
           Farm, Plaintiffs seek to “clarify” that HFHP is actually the MAO that paid for
           R.Y.’s medical expenses, and did not receive reimbursement.

   Id. at *7.

           In its Motion, USAA advises there are at least seven cases involving Plaintiff and/or its

   affiliates in which courts have ruled non-Medicare Advantage Organizations cannot sue for

   payment under the MSP Act. (See Mot. 3, n.3 (citing cases)). USAA also lists over 20 cases

   where judges in this district have dismissed cases similar to this one for the failure by the


                                                   15
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 16 of 25
                                                   CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   plaintiff to allege facts supporting standing. (See id. 1, n.2 (listing cases)).

           With this backdrop, USAA argues HFAP, the entity that purportedly assigned to MSP

   Series the claim in this lawsuit, did not pay the bills at issue and therefore could not have

   suffered an injury in fact, and is also not an MAO. (See id. 2–3). USAA states that in trying “to

   overcome these obvious defects in the last two iterations of the pleading, Plaintiff concocted a

   new theory and created new documents — now claiming its so-called assignment — which it

   had previously relied on to show its standing and entitlement to assert its claims — was

   somehow intended to be on behalf of and related to a completely different entity that is a[n

   MAO].” (Id. 3 (emphasis in original; alteration added)). USAA argues because standing must

   exist from the outset of a lawsuit, MSP Series’s attempt to rewrite history must fail. In this, the

   Court agrees. Before explaining why MSP Series lacks standing, it may be helpful to provide a

   brief background of the MSP Act and MAOs.

           B.      The MSP Act and MAOs

           In Auto-Owners, the court set out the relevant background:

           Congress enacted the Medicare Act in 1965 to establish a health insurance
           program for the elderly and disabled. At that time, Medicare paid for medical
           expenses even when Medicare beneficiaries were also enrolled in third-party
           insurance policies that covered those same costs. See MSP Recovery, LLC v.
           Allstate Ins. Co., 835 F.3d 1351, 1354 (11th Cir. 2016). In an effort to reduce
           costs, Congress passed the MSPA in 1980 which made Medicare the secondary
           payer, rather than the primary payer, for medical services provided to its
           beneficiaries when they are covered for the same services by a private insurer.
           See § 1395y(b)(2). Thus, the private insurer becomes the primary payer, as
           defined by the statute, for medical services. . . . Once notified of its responsibility
           for a payment, a primary payer must reimburse Medicare for any payment made
           within 60 days. § 1395y(b)(2)(B)(ii). In an effort to enforce this scheme, the
           MSPA created a private cause of action for double damages when a primary plan
           fails to provide payment. See § 1395y(b)(3)(A).

   Auto-Owners, 2018 WL 1953861, at *1 (alteration added; footnote call number omitted).

           Under Part C of the Medicare Act, Medicare enrollees may obtain Medicare benefits

                                                      16
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 17 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   through private insurer Medicare Advantage Organizations, instead of receiving direct benefits

   from the government under Parts A and B. See 42 U.S.C. § 1395w-21(a). MAOs contract with

   Medicare to administer benefits for a Medicare beneficiary.       See Auto-Owners, 2018 WL

   1953861, at *2 (citing Humana Medical Plan, Inc. v. Western Heritage Ins. Co., 832 F.3d 1229,

   1235 (11th Cir. 2016)).   The MSP Act “makes Medicare insurance secondary to any ‘primary

   plan’ obligated to pay a Medicare recipient’s medical expenses, including a third-party

   tortfeasor’s automobile insurance.” State Farm, 2018 WL 2392827, at *2 (quoting Parra v.

   PacifiCare of Ariz., Inc., 715 F.3d 1146, 1152 (9th Cir. 2013)). “Medicare serves as a back-up

   insurance plan to cover that which is not paid for by a primary insurance plan.” Caldera v. Ins.

   Co. of the State of Pa., 716 F.3d 861, 863 (5th Cir. 2013) (internal quotation marks and citation

   omitted). In fact, “Medicare cannot pay medical expenses when payment has been made or can

   reasonably be expected to be made under an automobile or liability insurance policy or plan or

   no fault insurance.” MSPA Claims 1, LLC v. Liberty Mut. Fire Ins. Co., 322 F. Supp. 3d 1273,

   1278 (S.D. Fla. 2018) (“Liberty Mutual”) (internal quotation marks, citation, and alterations

   omitted).

          Section 1395y(b)(3)(A) of the MSP Act provides a private right of cause of action against

   primary payers who do not reimburse secondary payers for conditional payments made to

   Medicare beneficiaries. See 42 U.S.C. § 1395w-21(a). Under section 1395y(b)(3)(A), an MAO

   may sue a primary plan that fails to reimburse an MAO’s secondary payment.          See Humana

   Med. Plan, Inc., 832 F.3d at 1238.




                                                  17
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 18 of 25
                                                   CASE NO. 18-21626-CIV-ALTONAGA/Goodman


           C.      As a Non-MAO, HFAP Cannot Bring or Assign a Medicare Secondary Payer
                   Action; the Post-Lawsuit Documents Cannot Remedy that Fatal Defect

           MSP Series alleges HFHP paid the bills at issue.1 (See TAC ¶ 11 (“HFHP paid $3,365.01

   for K.N.’s accident-related medical expenses.”)). To the extent USAA owes any reimbursement

   then, it would be to HFHP, the real party in interest to such a claim, or its assignee.

   Consequently, for MSP Series to have standing to sue USAA, there must exist an assignment —

   or a series of assignments — from HFHP to the named Plaintiff. Plaintiff alleges the assignment

   flows from HFHP through HFAP, from HFAP to MSP Recovery, and from MSP Recovery to

   Plaintiff. (See id. ¶¶ 14–19).   It is Plaintiff’s burden to show a valid assignment exists.

           The first document evidencing an assignment is the HFAP Recovery Agreement. (See id.

   Ex. D). The problem with this first in the chain of documents is HFAP is not an MAO. Plaintiff

   admits HFAP is not an MAO. (See id. Ex. D (describing HFAP as “a Health Maintenance

   Organization, Maintenance Service Organization, Independent Practice Association, Medical

   Center, and/or other health care organization and/or provider”)). Plaintiff’s elaborate attempt to

   persuade the Court it always intended HFHP to be the assignor cannot alter the plain language of

   the Recovery Agreement identifying HFAP as the assignor.

           Several other courts have already rejected Plaintiff’s strained construction of otherwise

   unambiguous contract documents. For example, in Auto-Owners, the court found HFAP was not

   an MAO and Plaintiff lacked standing under the MSP Act.                 See Auto-Owners, 2018 WL

   1953861, at *4 (in dismissing with prejudice for lack of standing, the court took judicial notice

   HFAP is not listed on the Centers for Medicare and Medicaid Services’s website, “a source

   which cannot be reasonably questioned”).

   1
    Although Plaintiff alleges “all administrative functions and operations of HFHP, including the issuance
   of conditional payments, are accomplished by HFAP” (TAC ¶ 16), Plaintiff does not allege HFAP
   actually paid K.N.’s bills. If HFAP paid K.N.’s bills, it would not have standing to bring this suit — or
   assign its standing to sue — because only MAOs have standing under the MSP Act.
                                                      18
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 19 of 25
                                                CASE NO. 18-21626-CIV-ALTONAGA/Goodman


          In State Farm, the court noted “[f]rom the beginning, Plaintiffs have led the Court to

   believe, and they continue to argue, that HFAP is an MAO.” State Farm, 2018 WL 2392827, at

   *3 (alteration added). The court observed the plaintiffs’ amended complaint was “misleading”

   regarding the true assignor, and the attempt to “clarify” the identity of the assignor was “not

   well-taken.” Id. The court in State Farm did not stop there:

          The Court does not believe Plaintiffs have been completely forthcoming about
          exactly who the alleged assignor is in this case. . . . [T]he Amended Complaint
          makes clear that any reference to “Health First” refers to HFAP. No matter how
          Plaintiffs twist it, their Amended Complaint is not accurate. HFAP did not pay
          the representative beneficiary’s medical expenses; HFHP did. Therefore, if
          anybody is to be reimbursed under the MSP provisions, it is HFHP, not HFAP.

   Id. at * 4 (alterations added). Given the plaintiffs were only “outed” by the defendant revealing

   the pleading was inaccurate, and the plaintiffs had “absolutely no basis in law to support the

   argument that HFAP is an MAO,” id. at *7, the court rejected the suggestion “Health First’s

   ‘corporate structure’ was too confusing to” justify the pleading’s misstatements, and entered

   Rule 11 sanctions against MSP Series and its counsel, MAO-MSO Recovery II, LLC v. State

   Farm Mutual Auto. Ins. Co., No. 1:17-cv-JBM-JEH, 2018 WL 2735106, at *7–8 (C.D. Ill. June

   7, 2018).

          In Liberty Mutual, the court dismissed the case with prejudice, explaining because the

   plaintiff’s assignors, including HFAP, are not MAOs, Medicare beneficiaries, or medical

   providers that directly treated the Medicare beneficiaries in the claims presented, they lacked

   standing to bring a private cause of action under the MSP Act and so the plaintiffs also lacked

   standing to bring a section 1395y(b(3)(A) claim based on the assignors’ purported assignment of

   rights. See Liberty Mutual, 322 F. Supp. 3d at 1283.

          HFAP, the actual assignor who was a party to the Recovery Agreement, did not pay the

   bills at issue and suffered no injury, nor is it an MAO with standing to assert claims that may be

                                                  19
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 20 of 25
                                                CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   transferred to MSP Series. Certainly, MSP Series knew this — having been told as much by

   other district courts, including having to pay monetary sanctions for advancing the argument.

   Now, in response to the final opportunity it was offered at the June 29 Hearing, MSP Series

   presents post-lawsuit agreements and affidavits trying once more to satisfy its obligation to show

   it has standing to bring claims under the MSP Act. (See generally TAC, exhibits). With these

   new agreements and affidavits, Plaintiff would have the Court believe HFHP — an entity never

   once mentioned in the Recovery Agreement — is the true assignor, not the entity named in the

   document, HFAP.

          The Addendum, Nunc Pro Tunc Assignment, and other post-lawsuit documents attached

   to the TAC attempt to show the original assignment agreements were meant to name HFHP as

   the true assignor, not the non-MAO HFAP. The Addendum and Nunc Pro Tunc Assignment,

   both dated June 1, 2018, purport to have as their effective date April 28, 2016, the same date the

   Recovery Agreement was executed. The Addendum states HFAP and MSP Recovery intended

   that HFHP be recognized as the assignor and party to the Recovery Agreement. (See TAC, Ex.

   F, ¶ 2).   Mr. Keeler’s First and Second Affidavits are immaterial, because the Recovery

   Agreement contains no ambiguous language that requires clarification. Its reference to HFAP

   brooks no ambiguity, and Mr. Keeler’s mere statements that HFHP and HFAP are

   interchangeable do not make them so. What Plaintiff has concocted with the several new

   documents is a brazen attempt to cure the deficiencies for which other courts have previously

   sanctioned Plaintiff and its counsel.

          “Article III standing must be determined as of the time at which the plaintiff’s complaint

   is filed.” Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1275 (11th Cir.

   2003) (citations omitted). In Lujan, 504 U.S. at 571, n.4, the Supreme Court explained standing



                                                  20
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 21 of 25
                                                   CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   is to be “assessed under the facts existing when the complaint is filed.” And “while it is true that

   a plaintiff must have a personal interest at stake throughout the litigation of a case, such interest

   is to be assessed under the rubric of standing at the commencement of the case, and under the

   rubric of mootness thereafter.” Becker v. Fed. Election Comm’n, 230 F.3d 381, 386, n.3 (1st Cir.

   2000).

             Plaintiff would have the Court accept its representation the Recovery Agreement

   “intended to assign the rights of HFAP’s related health plans, including HFHP” based on a line

   that states “any health plans of [HFAP] are encompassed within this Agreement.” (Opp’n 5–6

   (citations omitted)).    Yet, that reference in the Recovery Agreement is to payments MSP

   Recovery must make to HFAP, not to the scope of what entities’ claims are being assigned. As

   noted by USAA, that same provision “was before the Liberty Mutual, Travelers,[2] Auto-Owners,

   and State Farm courts when they held that the HFAP Contract did not encompass an assignment

   of claims owned by HFHP.” (Reply 2).

            In any event, the Court does not give any weight to this eleventh-hour extra-contractual

   evidence of the parties’ intent3 given the Recovery Agreement is unambiguous on its face. See,

   e.g., Hibiscus Assocs. Ltd. v. Bd. of Trustees of Policemen & Firemen Ret. Sys. of City of Detroit,

   50 F.3d 908, 919 (11th Cir. 1995) (“When a contract term is clear and unambiguous, the best

   evidence of this intent is the term itself, and a court may not give such term meaning beyond that


   2
     MSP Recovery Claims, Series LLC v. Travelers Cas. and Surety Co., No. 17-23628-Civ-Williams (S.D.
   Fla. June 19, 2018), 9 [ECF No. 54] (dismissing case for lack of subject matter jurisdiction and noting
   “[b]ecause HFAP — the entity that allegedly assigned its rights to Plaintiff — is not an MAO, and thus
   lacks standing to bring a private cause of action under the MSPA, Plaintiff also lacks standing to bring a
   claim under Section 1395y(b)(3)(A) based on the purported assignment of rights from HFAP.” (alteration
   added)).
   3
     Tellingly, Mr. Keeler states it was his intention to sign the Recovery Agreement on behalf of HFAP.
   (See First Keeler Aff. ¶ 7; Second Keeler Aff. ¶ 8). Yet, the June 1 Addendum states HFHP was
   “inadvertently” not included by name in the Recovery Agreement. (See Addendum ¶ C).
                                                      21
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 22 of 25
                                                   CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   clearly expressed in the four corners of the document.” (citation omitted)). In the Recovery

   Agreement, HFAP is clearly defined as the “Client” that “irrevocably assigns . . . all of Client’s

   right, title and interest in and to all Claims.” (Recovery Agreement § 4.1). To give any effect to

   Plaintiff’s and Mr. Keeler’s new explanations about the “intent” of the document to evince an

   assignment by non-signatory HFHP is to misapply basic rules of contract construction by

   considering parol evidence. See In re Yates Development, Inc. 256 F.3d 1285, 1289 (11th Cir.

   2001) (affirming district court’s refusal to consider “extrinsic evidence of the parties’ intent,”

   including an affidavit, because “under Florida4 law, the parol evidence rule bars admission of

   extrinsic evidence which would vary or contradict the unambiguous language of a contract”

   (citations omitted; footnote added)).

             In the event the Court is not persuaded by the post-lawsuit documents Plaintiff prepared

   more than two years after the fact and now presents in an attempt to show HFAP is not the true

   assignor, Plaintiff relies on Federal Rule of Civil Procedure 15(d) to request the Court treat the

   TAC as a supplemental complaint and allow the case to proceed to the merits. (See Opp’n 11).

   Plaintiff relies in part on Northstar Financial Advisors Inc. v. Schwab Investments, 779 F.3d

   1036, 1043–48 (9th Cir. 2015), where the court approved the district court’s decision to allow the

   plaintiff to file a supplemental pleading after a post-complaint assignment from a party that had

   standing, given Federal Rule of Civil Procedure 15(d) allows a plaintiff to file a supplemental

   pleading to correct a defective complaint. (See Opp’n 10–11). This new argument fails to

   persuade for two reasons.

             First, despite filing several motions for leave to amend its initial Complaint (see ECF

   Nos. 22, 34 & 35]), Plaintiff never sought leave to file an amended pleading under Rule 15(d);

   rather, it relied on Rules 15(a) and 15(c). (See id.). Moreover, the post-litigation documents do
   4
       Florida law governs the Recovery Agreement. (See Recovery Agreement ¶ 8.3).
                                                     22
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 23 of 25
                                                CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   not cure the absence of standing at the time the suit was filed. “[N]unc pro tunc assignments are

   not sufficient to confer retroactive standing.” Alps South LLC v. Ohio Willow Wood Co., 787

   F.3d 1379, 1384 (Fed. Cir. 2015) (alteration in original; internal quotation marks and citation

   omitted); see also Diamond Coating Tech., LLC v. Hyundai Motor Am., 823 F.3d 615, 621 (Fed.

   Cir. 2016) (affirming district court’s dismissal of patent infringement actions where the plaintiff

   executed nunc pro tunc agreements to clarify the parties’ original intent to grant full ownership

   of the patents in question to the plaintiff, as “nunc pro tunc assignments are not sufficient to

   confer retroactive patentee status” (internal quotation marks, citation, and alteration in original

   omitted)). Indeed, “where a plaintiff never had standing to assert a claim against the defendants,

   it does not have standing to amend the complaint and control the litigation by substituting new

   plaintiffs, a new class, and a new cause of action.” Summit Office Park, Inc. v. U.S. Steel Corp.,

   639 F.2d 1278, 1282 (5th Cir. 1981).

          Second, the Series Contract, purporting to assign rights from MSP Recovery to Series 16-

   05-456, LLC, is deficient, as it purports to transfer rights created under a Recovery Agreement

   dated April 28, 2015. (See Series Assignment). The Recovery Agreement is actually dated April

   28, 2016. (See Recovery Agreement 1). And the named Plaintiff is MSP Series, not even Series

   16-05-456 LLC. (See TAC ¶ 43). A “series” entity is similar to a corporation with subsidiaries,

   see CML V, LLC v. Bax, 6 A.3d 238, 251 (Del. Ch. 2010), and parent corporations lack standing

   to sue on behalf of their subsidiaries, see Elandia Int’l, Inc. v. Koy, 09-20588-Civ, 2010 WL

   2179770, at *5 (S.D. Fla. Feb. 22, 2010).

          Recognizing the TAC fails to allege exactly how MSP Series can sue on behalf of a

   subsidiary entity, Series 16-05-456 LLC, Plaintiff seeks to buttress the TAC by providing “the

   full suite of corporate documents.” (Opp’n 12 n.5). Plaintiff’s attempt to use a grouping of



                                                   23
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 24 of 25
                                                  CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   limited liability and other agreements attached to the Opposition (see Opp’n, Exs. B–E [ECF

   Nos. 65-2 to 65-5]) to show Plaintiff’s ability to maintain this action is not permitted. See

   Kennedy v. Melbourne Beach, LLC, No. 6:16-CV-1849-ORL-40DCI, 2017 WL 821815, at *1

   (M.D. Fla. Mar. 2, 2017) (noting when a defendant launches “a facial attack, [] the Court is

   limited to the four corners of the Complaint in determining whether Plaintiff has standing to

   sue.”); see also Wilchombe v. Teevee Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009) (“Because

   [the plaintiff] did not reference these contracts in his amended complaint or attach them thereto,

   the district court properly refused to consider such contracts in ruling on the motion to dismiss.”

   (alteration added; citation omitted)).

                                            IV.   CONCLUSION

          In light of the ever-shifting allegations Plaintiff has presented in its four versions of its

   pleading, it is evident Plaintiff has played fast and loose with facts, corporate entities, and

   adverse judicial rulings. Plaintiff has inexorably been forced to recognize there never existed an

   MAO with the ability to bring or assign a claim under the MSP Act for recovery of payment of

   K.N.’s bills. Undeterred, Plaintiff sought to rewrite history with a convoluted story, told by Mr.

   Keeler and his counsel, that there was an MAO all along that properly assigned those rights.

   Yet, that is not so. The somewhat careless drafting of documents by lawyers clearly referencing

   a non-MAO as the assigning entity — HFAP — cannot be cured by attempting post facto to

   create and dispel an ambiguity that never existed.

          Being fully advised, it is

          ORDERED AND ADJUDGED that Defendant, USAA General Indemnity Company’s

   Motion to Dismiss Plaintiff’s Third Amended Class Complaint for Damages [ECF No. 63] is

   GRANTED. The case is DISMISSED without prejudice. See Stalley, 524 F.3d at 1232 (“A



                                                    24
Case 1:18-cv-21626-CMA Document 78 Entered on FLSD Docket 10/19/2018 Page 25 of 25
                                               CASE NO. 18-21626-CIV-ALTONAGA/Goodman


   dismissal for lack of subject matter jurisdiction is not a judgment on the merits and is entered

   without prejudice.” (citation omitted)). The Clerk is instructed to mark the case CLOSED.

          DONE AND ORDERED in Miami, Florida, this 19th day of October, 2018.



                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




                                                 25
